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    li CORPORATE CREATIONS'
            Registered Agent* Director • hcorporotion
Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

                                                                                              April 16. 2024



               US District Court
               401 Courthouse Square
               Alexandria VA 22314




         RETURN OF SERVICE

         RE: United States of America, et al.


         Not at this address. Corporate Creations Network, inc. is not the New York registered agent for "Google, LLC'
         and therefore not authorized to receive service on their behalf.

         We are returning the original document to your office. Please update your records accordingly.




         Sincerely,

        Service of Process Team
         process@corpcreatlons.com
